 Case 1:10-cv-01142-GJQ ECF No. 5, PageID.36 Filed 01/06/11 Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


VICTORIA NELSON,

            Plaintiff,                         Case No. 1:10−cv−01142−GJQ

   v.                                          Hon. Gordon J. Quist

MS SERVICES, LLC,

            Defendant.
                                           /



                                        ORDER
        The Stipulation of Dismissal (docket no. 4) is GRANTED.

        IT IS SO ORDERED.


Dated: January 6, 2011                          /s/ Gordon J. Quist
                                               GORDON J. QUIST
                                               United States District Judge
